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              IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN
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                                                                   DISTRICT
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                                                                            OF IOWA                             JUN 2 0 2018
Christopher (Bruce) The Living Man                                                                          CLERK OF DISTRICT GOUR
Elizabeth (Bruce) the living woman
                                                                                                           SOUTHERN DISTRICT OF IOV
                                                                       Case #4-18-cv-40
                Plaintiffs
v.                                                            Motion to resist motion to dismiss
                                                              Dale Mays as a party to this action.
Polk County Attorney's Office et al
       Defendants




Christopher (Bruce) the living man moves to resist the motion to dismiss this action against Dale Mays,
for the same old tired reasons used in everyone else's motions.

The plaintiff, Christopher, takes a moment to point out to the court that this motion to dismiss, made by
Mays and Clausen, wraps up the current round of motions to dismiss on a very important note; because
it shows that the conspiracy against the rights of the plaintiffs civil, due process, and Constitutional
rights is still very much in play and continues on to this very moment. Their honors will note that almost
every single motion to dismiss reads exactly the same, and the majority of the reasons used to dismiss
are obviously NOT the issue here. I could practically save the same resistance motion with the names of
all 30 defendants, and just change the names throughout the body, and it would work; mainly because
each claims the exact same things.

     1.   That this case arises out of child protective, custody and termination cases. ONCE AGAIN, THE
          PLAINTIFFS STATE THATTHE CASE AT HAND IS AN OVERT CONSPIRACY A.GAINSTTHE PLAINTIFFS
          CIVIL, DUE PROCESS AND CONTITUTIONAL RIGHTS, THAT AN APPARENT CRIMINAL
          ORGANIZATION OF SELECT DEFENDANTS NAMED IN THIS ACTION is in force in Iowa, and THE
          PLENTIFUL violation of our rights under color of law. The plaintiffs do not seek an appeal on 3
          cases, they seek justice in ALL cases against the plaintiffs, though they should have the right to
          appeal all of these cases to the Federal courts regardless, s.ince the courts of Iowa ARE
          CORRUPTED to a Extreme degree. If they cannot seek the oversight of the federal jurisdiction to
          appeal these matters, then what good are the federal courts, and what good is it to say that
          Federal Law trumps State Law? Obviously it does not, or jurisdiction wouldn't even be a
          question of fact.
     2.   That the FDC lacks jurisdiction over child custody matters. This isn't about child custody. It's
          about kidnapping a child at 9 days old from the mother at a hospital, termination our rights
          wrongfully, and using law to do so that directly CONFLICTS WITH THE CONSTITUTION AND WITH
          THE INHERENT RIGHT OF PARE.,NTS EVERYWHERE per the SCOTUS and the Constitution; using
          hearsay and allegations that w~~e proven to be 100% INCORRECT in their application. It has
          NOTHING to do with custody; th.~ pa~ents NEVER HAD custody of their child, so how can it be
                                        '.,:\'. .,
          about custody?
     3.   Res Adjudicata DOES NOT APPLY. THIS IS ABOUT 3 NEW ALLEGATIONS that occurred during all
          of these actions against the plaintiffs, over a period of 4 years .... PERIOD.
     4.   I will n~w state my claim against Dale Mays. Dale Mays is a shame to the entire BAR. He
          conspiretlcontinuously with Judge Price and with the County Attorney's office and did


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         absolutely NOTHING TO SERVE THE BEST INTERESTS OF HIS CLIENT. He lied, he cheated, he
         conspired with the judge, he assisted in falsifying the record of the court, he assisted in the
         obvious act of LEGAL KIDNAPPING, and he helped destroy the will and soul of a loving caring
         mother who only wanted one child in her life, and caused her to lose it, by doing NOTHING. We
         NOW SO CLAIM.
    5.   Christopher the plaintiff had standing, until the corrupt district Polk County Court threw him out
         of the case, using a bullshit and corrupt Iowa Supreme Court case decision to claim he had no
         rights as a father (I was a legal father ... .i HAD RIGHTS) because they knew who the bio father
         was; a guy who fucked my wife once and left her on the side of the road, and didn't give a RAT'S
         ASS about the mother, or his possible child, until DHS HUNTED HIM DOWN AND FORCED HIM
         TO RAISE HIS HAND TO CLAIM IT, after this father was their target for nearly six entire months
         first, and only when these criminals were about to lose because of everything I had filed in the
         case. The Plaintiff, Christopher STANDS IN THIS COURT. They say that I have no standing,
         because of their criminal actions against me? Then I'd be more than happy to talk with Mr.
         Mays today, face to face, and we'll ask the question a few more times. I'll bet when I'm done
         with Mr. Mays man to man, I'll .have standing then; mainly because I'll be the only man left
         standing.
    6.   I would like to see the law that states that the statute of limitations on a 1983 action is only 2
         years. The Statute of limitations on th~t action is 3 years, and that puts Mr. Mays right dead
         center. If that one has run, then Mr. Mays can still be accused of conspiracy and RICO
         ACTIVITIES.
    7.   That the plaintiffs have no standing to accuse a RICO action. The plaintiffs most certainly have
         standing, the Conspiracy itself allows the standing. Should the plaintiffs show the conspiracy,
       then the RICO charges will show themselves. The plaintiffs ask the court to allow them to do so,
       then the Standing will show itself brightly.
    8. That no claim can be filed pursuant to 18 USC sec. 241. If this is so, then how can it be filed?
         Criminally? Then the Plaintiffs ask the court to do so. Of course, the court has no intent to do
         anything of the sort, so I guess we just take this conspiracy to a higher level, and show the
         federal court guilty of the same. If you want to take it to THAT level, I'll be happy to oblige you.

The plaintiffs hereby request that this court act as an ARTICLE Ill court of LAW, or we will expose the
misdeeds of this court, and have you ousted from your positions as well. Enough Said.




                        IJJVL\
                        Man




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      The undersigned certifies that the foregoing instrument was serv% upon each of ttte;sons identified as
       receiving a copy by delivery in the following manner on the        day of         L.'tJC... ,  2018:
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